Case 1:19-cv-05298-AMD-RML                Document 31         Filed 07/19/21        Page 1 of 6 PageID #:
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


  ISRAEL MARCOLINO CHAFFNER,

                                                Plaintiff,
                                                                    19.CV-5298(AMD)(RML)
                      - against -
                                                                    NOTICE OF MOTION
                                                                    FOR DEFAULT JUDGMENT

  DIAMOND RESORTS HOLDINGS,LLC,
  VnOR MENNA BARRETO,et al.,

                                            Defendants,
                                                        X



         I, Israel M.Schaffner, Plaintiff, the United States of America, move this Court for entry of a default

judgment as to remaining defendant(s) DIAMOND RESORTS HOLDINGS, LLC, and VITOR MENNA

 BARRETO, et al., upon the complaint heretofore in accordance with the provisions of Rule 55(b)(2),

 Federal Rules of Civil Procedure, and in support thereof shows the Court the following.



                                      BACKGROUND AND FACTS

         1. Diamond Resorts is a timeshare company that markets and sells timeshare memberships (ECF

 No. 1-2 at ^ 3.) Plaintiff, not only claims, but, has knowledge of the company dealings by coercing

 vulnerable, unsophisticated citizens into entering into timeshare contracts through carefully designed sales

 tactics, without care or without fully informing their current and prospective client(s) what they are

 purchasing; in most cases client(s) and prospective client(s) and even current member's friends and family

 are constantly invited to attend it's "Dinner Meetings". {See: Jocson v. Diamond Resorts International

 Club, Inc. et al.)

         2. In Plaintiffs Complaint, Diamond Resorts did use these sales tactics and did coerce Co-

 defendant Mr. Vitor Menna Barreto, a person with limited English comprehension, to enter into an

 unnecessary additional timeshare contract under duress.(Id. At      8, 14.)'


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Case 1:19-cv-05298-AMD-RML   Document 31   Filed 07/19/21   Page 2 of 6 PageID #:
                                   506
Case 1:19-cv-05298-AMD-RML   Document 31   Filed 07/19/21   Page 3 of 6 PageID #:
                                   507
Case 1:19-cv-05298-AMD-RML   Document 31   Filed 07/19/21   Page 4 of 6 PageID #:
                                   508
Case 1:19-cv-05298-AMD-RML   Document 31   Filed 07/19/21   Page 5 of 6 PageID #:
                                   509
Case 1:19-cv-05298-AMD-RML   Document 31   Filed 07/19/21   Page 6 of 6 PageID #:
                                   510
